                                           UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF UTAH
In re:   Patricia Rosalie Page
                                                                  Case No.    25-20119
                                                                  Chapter     13

                      Debtor(s).                                  Trustee:    Lon A. Jenkins


                                                    AMENDED MATRIX
                                                      $34 Fee Required
                                                          IFP Waiver
File amended matrix with ONLY the amended creditors. File separate change of address form to change the debtor's address.
Fee required except for change of address or adding attorney for listed creditor. Conversion? (13 to 7) Yes or No

It is the debtor's responsibility to notify additional creditors by sending a 341 notice and/or Discharge Order to the creditors
added. A certificate of mailing should be filed with the Clerk's office (see below). If adding more than eight (8) creditors, attach a
scannable list to this cover sheet rather than beginning the list on this page. The scannable list needs to be in Courier 10 pitch,
Prestige Elite or Letter Gothic fonts and contain no more than four (4) lines per creditor address.



 Matrix:                    Adding              Correcting             Deleting
Please type the creditors' address(es) changes/additions below:
1)       Brenden P. Hoffman
         Young Hoffman, LLC
         175 S Main Street, Ste 850
         Salt Lake City, UT 84111
2)       Plaza At Jordan Landing, LLC
         5850 Avenida Encinas, Ste A
         Carlsbad, CA 92008



                                                CERTIFICATE OF MAILING
I hereby certify that a true and correct copy of the foregoing was mailed, postage prepaid, to the creditors added to this estate as
follows (please mark the appropriate lines(s):

                                        341 Notice              Discharge Notice            Plan/Amended Plan


April 18, 2025                                                         /s/ Andrew T. Curtis
DATE                                                                   Andrew T. Curtis
                                                                       ATTORNEY FOR DEBTOR(S)




Rev. 12/23
